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                                 IN THE UNITED STATES DISTRICT tCOURT       !V.
                                FOR THE SOUTHERN DISTRICT OF GEORGIA
                                          BRUNSWICK DIVISION 2011 AUG31 AtifO:

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                                                                          SO, UIS1. OF GA.

             UNITED STATES OF AMERICA,


                    vs.                                              CASE NO.: CR211-015


             NIKITA JAMALA JONES

                                                     ORDER

                    Defendant Nikita Jamala Jones ("Jones") has filed a Motion for Severance

             pursuant to Federal Rules of Criminal Procedure 8 and 14. The United States of

             America filed its Response. The undersigned conducted a pretrial hearing on

             Defendant's Motion on August 23, 2011. This case involves 21 named Defendants

             who have been charged in a four (4) count Indictment, alleging, in relevant part,

             conspiracy to possess with intent to distribute and to distribute controlled substances, in

             violation of 21 U.S.C. § 846 and 18 U.S.C. § 2; and possession of a firearm in

             furtherance of a drug trafficking crime, in violation of 18 U.S.C. § 924(c)(1)(A) and 2.

             Jones is named in two (2) counts of the indictment.

             I.     Rule 8(a)

                    Jones contends that the two counts of the indictment in which she is charged are

             unrelated and improperly joined. According to Rule 8(a) of the Federal Rules of

             Criminal Procedure, "[t]he indictment or information may charge a defendant in separate

             counts with 2 or more offenses if the offenses charged . . are of the same or similar

             character, or are based on the same act or transaction, or are connected with or


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              constitute parts of a common scheme or plan." FED. R. CRIM. P. 8(a). "Rule 8 is broadly

              construed in favor of the initial joinder." United States v. Dowd, 451 F.3d 1244, 1249

              (11th Cir. 2006) (citation omitted). However, even where joinder is appropriate under

              Rule 8(a), "Rule 14 [of the Federal Rules of Criminal Procedure] permits relief from

              prejudicial joinder, including severance of counts, 'if the joinder of offenses in an

              indictment appears to prejudice a defendant." United States v. Williams, 177 F. App'x

              914, 924 (11th Cir. 2006) (quoting United States v. Walser, 3 F.3d 380, 385 (11th Cir.

              1993)). Any prejudice which might occur due to a trial court's "refusal to bifurcate the

              trial" can be mitigated by several things, including giving the jury proper instructions.

              United States v. Bennett, 368 F.3d 1343, 1351 (11th Cir. 2004), judgment vacated on

              other grounds by 543 U.S. 1110 (2005).

                    Jones has failed to show what prejudice she would suffer by having two (2)

              counts of the indictment prosecuted in one trial. At this stage, Jones has failed to

              satisfy her burden of showing compelling prejudice which would result by having all of

              the charges against her prosecuted in a single trial. Should it become evident during

              the course of the trial that Jones has suffered prejudice as a result of having a single

              trial, the Court will provide the jury with curative instructions. Jones' Motion to Sever

              Counts is DENIED.

              IL     Rules 8(b) and 14

                     Jones alleges that a review of the discovery materials in this case reveals that

              her co-Defendants' defenses will conflict with her own and will confuse the jury. Jones

              also alleges that, if she is subjected to a trial with her co-Defendants, she will be

              prejudiced.



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                    Generally, "defendants who are indicted together are. . . tried together." United

             States v. Browne, 505 F.3d 1229, 1268 (11th Cir. 2007) (citing Zafiro v. United States,

             506 U.S. 534, 537-38 (1993)). "[T]he law favors joint trials of defendants charged with a

             common conspiracy since the nature and scope of the confederation is often

             prohibitively large and the evidence against the individual defendants cumulative."

             United States v. Dorse y , 819 F.2d 1055, 1058 (11th Cir, 1987). Therefore, because a

             conspiracy is charged in the indictment, the law favors a joint trial in the case sub judice.

                    Federal Rule of Criminal Procedure 8(b) provides for joinder of multiple

             defendants where the indictment charges the defendants with participation in a single

             conspiracy and further charges some but not all of the defendants with substantive

             counts arising out of the conspiracy. United States v. Simon, 839 F.2d 1461, 1472

             (11th Cii. 1988); United States v. Meester, 762 F.2d 867, 883 (11th Cir. 1985). "Even if

             joinder under Rule 8(b) is proper, however, severance may be granted in the discretion

             of the trial court pursuant to [Federal Rule of Criminal Procedure] 14 lithe court

             determines that prejudice will result from the joinder." Id. Severance should be granted

             only if there is a serious risk that a joint trial would compromise a specific trial right of a

             properly joined defendant or prevent the jury from making a reliable judgment about

             guilt or innocence of each defendant. See Zafiro, 506 U.S. at 539; United States v.

             Talley, 108 F.3d 277, 280 (11th Cir. 1997). Severance is not required as a matter of law

             even when co-defendants present "mutually exclusive" or "mutually antagonistic"

             defenses. Zafiro, 506 U.S. at 539; Talle y , 108 F.3d at 280. Rather, Rule 14 requires

             that the district court balance the rights of the defendants to a fair trial, absent the

             prejudice inherent in a joint trial, against the public's interest in efficient and economic



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              administration of justice. Hernandez, 921 F.2d at 1578 (citing Dorsey, 819 F.2d at

              1058).

                       The Court recognizes that some measure of prejudice may be present in the joint

              trial of co-defendants. "Inherent in every joint trial is some degree of prejudice and bias,

              but only in the event such prejudice appears to be compelling [to the conduct of the

              defendant's defenses] does severance become warranted." Roper, 874 F.2d at 789

              (internal citation omitted); see also United States v. Harris, 908 F.2d 728, 736 (11th Cir.

              1990). Compelling prejudice does not exist simply because much of the evidence at

              trial is applicable only to a defendant's co-defendant. United States v. Alvarez, 755 F.2d

              830, 857 (11th Cir. 1985). The Eleventh Circuit employs the following test to determine

              whether "compelling prejudice" exists to warrant severance:

                       Whether under all the circumstances of the particular case, as a practical
                       matter, it is within the capacity of the jurors to follow the admonitory
                       instructions and accordingly collate and appraise the independent
                       evidence against each defendant solely upon that defendant's acts,
                       statements, and conduct. In sum, can the jury keep separate the
                       evidence that is relevant to each defendant and render a fair and impartial
                       verdict as to him? If so, though the task be difficult, severance should not
                       be granted.

              Roper, 874 F.2d at 789; United States v. Marszalkowski, 669 F.2d 655, 660 (11th Cir.

              1982). "The fact that every member of the conspiracy was not present at every stage of

              the conspiracy is not such a disparity in the evidence as would confuse the jury."

              Meester, 762 F.2d at 884. The court will instruct the jury to consider the case against

              each defendant separately, thereby eliminating the likelihood of a "spill-over" effect. Id.

                       In the case sub judice, the jury will be able to follow the Court's cautionary and

              admonitory instructions, and the jury will be able to determine the guilt or innocence of

              each defendant solely on the basis of each defendant's conduct. See United States v.


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              Adams, I F.3d 1566, 1578J9 (11th Cir. 1993) (severance of trials not mandated, even

              where majority of evidence applied only to certain co-defendants, where trial court gave

              sufficient cautionary instructions); United States v. LaCharice, 817 F.2d 1491, 1495

              (llthCir. 1987).

                    Jones has not established a showing of "compelling prejudice" sufficient to

              require severance. Jones' Motion for Severance from other Defendants (Doc. 381) is

              DENIED.

                    SO ORDERED, this       5/ d ay of August, 2011.


                                                          liES E. GRAHAM
                                                          ITED STATES MAGISTRATE JUDGE




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